
45 So. 3d 937 (2010)
Calvin RICHARDSON, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-1959.
District Court of Appeal of Florida, Third District.
October 13, 2010.
*938 Calvin Richardson, in proper person.
Bill McCollum, Attorney General, and Richard L. Polin, Chief Assistant Attorney General, for appellee.
Before COPE, SHEPHERD, and CORTIÑAS, JJ.
PER CURIAM.
This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.800. On appeal from a summary denial, this Court must reverse unless the post-conviction record, see Fla. R.App. P. 9.141(b)(2)(A), shows conclusively that the appellant is entitled to no relief. See Fla. R.App. P. 9.141(b)(2)(D).
Because the record now before us fails to make the required showing, we reverse the order and remand for further proceedings. If the trial court again enters an order summarily denying the post-conviction motion, the court shall attach record excerpts conclusively showing that the appellant is not entitled to any relief.
Reversed and remanded for further proceedings.[1]
NOTES
[1]  The appeal is dismissed insofar as it attempts to seek review of the trial court's order denying the motion to mitigate sentence. See Thomas v. State, 19 So. 3d 431 (Fla. 3d DCA 2009).

